Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 1 of 16 PageID# 5137




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

   Trans-Radial Solutions, LLC,

                                  Plaintiff,
           v.                                                Civil Action No. 2:18-cv-00656

   Burlington Medical, LLC et al.,

                                  Defendants.


                     PLAINTIFF’S RULE 72 OBJECTION TO
          MAGISTRATE JUDGE’S RULING EXCLUDING CERTAIN EXPERT
        OPINIONS OF DR. KENNETH GALL AND DR. JENNIFER VANDERHART

         Plaintiff Trans-Radial Solutions, LLC (“TRS”), by counsel, pursuant to Fed. R. Civ. P. 72,

  objects to three portions of the Magistrate Judge’s ruling excluding certain expert opinions of Dr.

  Kenneth Gall and Dr. Jennifer Vanderhart from trial. See D.E. 200. Specifically, TRS objects to

  the following holdings as clearly erroneous and contrary to law:

         1. The Magistrate Judge’s holding that, “Dr. Gall may not offer his projections for Rad-
            Guard’s hypothetical market penetration and lost future sales because those projections
            are not based on any reliable data or method, and because he otherwise lacks the
            necessary qualifications, education, training, and experience to opine generally on lost
            future sales of the product.” D.E. 200 at 1.

         2. The Magistrate Judge’s holding that Dr. Vanderhart may not testify to her lost future
            sales calculations and present value calculations that derive from Dr. Gall’s improperly
            excluded opinions. See D.E. 200 at 2.

         3. The Magistrate Judge’s holding that, with respect to TRS’s Cardio-Trap product, TRS
            will have to present evidence at trial other than Burlington’s own sales projections to
            support “the precise number of units [Dr. Vanderhart] claims could have been sold.”
            D.E. 200 at 3.

         Because these rulings conflict with Fourth Circuit case law and introduce a high likelihood

  of a second trial after appeal, TRS respectfully asks the Court to correct or clarify the rulings.
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 2 of 16 PageID# 5138




                                          Standard of Review

         Under Rule 72, the district judge “must consider timely objections” to a magistrate judge’s

  order on a nondispositive pretrial matter, “and modify or set aside any part of the order that is

  clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a).

                                              Background

         This case involves two patented products invented by TRS, the Rad-Guard® radiation

  shield and the Cardio-TRAP® radial access catheterization system.1 TRS hired Burlington to

  market and sell its two products. Burlington and the other Defendants instead copied the Rad-

  Guard in order to create, market, and sell their own competing product, at a time most critical to

  the Rad-Guard’s market introduction (as Burlington’s CEO stated in deposition, “you only launch

  a product once”). At the same time, they suppressed sales of the more expensive Cardio-Trap,

  instructing their sales force to back-shelf it in hopes that TRS would flounder as a company.

         TRS identified Dr. Gall, a physicist with 30+ years of experience in all aspects of buying,

  selling, studying, using, and launching radiation protection products, to evaluate the evidence and

  opine on the impact of Defendants’ actions.2 Dr. Gall first opines that Defendants’ copycat product

  infringes TRS’s patent, an opinion which the Magistrate Judge held he is qualified to render. Dr.

  Gall next opines on TRS’s loss of market share by determining how many Rad-Guards would have

  been sold during the affected time frame “but for” Defendants’ actions. The Magistrate Judge’s

  order excluding this part of Dr. Gall’s report is the central issue in this objection.



  1
          These two products are described in detail in TRS’s motion for summary judgment and in
  other briefing in the case.
  2
         A copy of Dr. Gall’s curriculum vitae is attached as Exhibit A. Copies of his reports are
  attached as Exhibits B and C.


                                                     2
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 3 of 16 PageID# 5139




         Based in part on Dr. Gall’s analysis, TRS’s damages expert, Dr. Vanderhart, a Ph.D.

  economist with 20+ years of experience in economic evaluation, quantified TRS’s damages. 3

         Defendants did not identify any experts to rebut either of TRS’s experts.

                                   Dr. Gall’s market share analysis

         1.      Market share “but for” Defendants’ actions.

         Dr. Gall begins his analysis by defining the relevant market for the Rad-Guard. The

  primary market is the U.S. cardiac catheterization (cath lab) market, consisting of approximately

  2,000 labs as of 2018.4 Exhibit B at p. 22. He also notes that “sizeable additional sales of the

  Rad-Guard® shield could be expected beyond the primary market,” including the secondary U.S.

  market and international markets. See id. at pp. 22-23, 25. For the secondary U.S. market, Dr.

  Gall identifies at least 25 additional interventional radiology procedures. See id. at pp. 22-23.

         Next, he explains why it is reasonable to expect significant market demand. He describes

  the functional benefits of the product, including how it solves better than any other product “the

  problem of reducing radiation exposure of support personnel who need to perform functions at or

  near a medical device hanger or IV pole while radiation is present.” Id. at pp. 8, 24 (“no other

  product provides the same benefits”); see also Exhibit C at p. 6. As he summarized in deposition,

  the Rad-Guard “addresses a problem that everybody has in these cardiac catheterization labs. And

  when you see the way that it’s intended to be used, and recognized the needs that the customers

  have, you can recognize that it will have essentially a universal appeal to all of those customers.”

  D.E. 108-5 at 137:23-138:5l (emphasis added).



  3
          A copy of Dr. Vanderhart’s curriculum vitae is attached as Exhibit E. A copy of her report
  is attached as Exhibit F.
  4
         Dr. Gall provided Defendants a copy of a journal article from the American College of
  Chest Physicians that confirmed this number.
                                                   3
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 4 of 16 PageID# 5140




         Third, he describes how the Rad-Guard fits within “the decision-making process that a

  hospital or medical facility would undergo in deciding to purchase” the product. Exhibit B at p.

  24. Importantly, he also explains how hospitals “replace major medical equipment within a ten

  year timeframe,” such that “the vast majority of major medical equipment such as cath lab suites

  will be replaced in a ten year cycle.” Id. at p. 22. “It is therefore reasonable to assume that 100%

  of the addressable market will become available within a ten year timeframe.” Id.

         Fourth, he describes the increase in radiation concerns amongst the medical community as

  a further reason why customers would need the product, including how “the general practice of

  ALARA (subjecting radiation workers to As Low As Reasonably Achievable) doses, would be a

  compelling reason to purchase the Rad-Guard.” Id. at pp. 24-25.5

         Lastly, he describes TRS’s patent and explains how there essentially are no acceptable non-

  infringing substitutes. See id. at p. 25 (“the patent protection providing for little meaningful

  competition”).6 The term of a patent is 20 years, see 35 U.S.C. § 154, or two replacement cycles

  for cath lab suite equipment.

         For all these reasons, Dr. Gall concludes that, “but for” Defendants’ actions, the Rad-Guard

  “could reasonably capture close to 100% of its Total Addressable Primary Market within a

  timeframe of 10 years.” Exhibit B at p. 25.



  5
           ALARA is a requirement that all radiation safety programs must implement. 10 C.F.R. §
  20.1101. It “means making every reasonable effort to maintain exposures to radiation as far below
  the dose limits in this part as is practical consistent with the purpose for which the licensed activity
  is undertaken, taking into account the state of technology, the economics of improvements in
  relation to state of technology, the economics of improvements in relation to benefits to the public
  health and safety, and other societal and socioeconomic considerations, and in relation to
  utilization of nuclear energy and licensed materials in the public interest.” 10 C.F.R. § 20.1003.
  6
         This is also how Burlington touted the Rad-Guard when it first launched, emphasizing to
  customers that the Rad-Guard was (until Defendants introduced their copycat) “The ONLY
  Radiation Protective Solution that attaches to any standard IV pole.” D.E. 151-12.
                                                     4
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 5 of 16 PageID# 5141




         2.      Reduced market share as a result of Defendants’ actions.

         Dr. Gall also opines that it is reasonably certain Defendants’ actions have both decreased

  and delayed the maximum possible market penetration for the Rad-Guard. As a result of

  Defendants’ interference with sales of the Rad-Guard and introduction of their inferior product

  into the marketplace, Dr. Gall opines that TRS will be able to capture no more than 70% market

  share, and it will take at least two procurement cycles to do so. See id. at pp. 25-27.

         He supports this opinion in multiple ways using his knowledge, skill, and experience in the

  industry. First, he identifies the considerable problems that the Rad-Guard now faces as a result

  of Defendants’ actions. See id. at p. 25. This is supported by ample evidence of Defendants’

  interference with the Rad-Guard’s market launch and replacement of the Rad-Guard (for the same

  customer base) with their infringing product, see, e.g., D.E. 151; sworn testimony of Burlington’s

  CEO about the critical importance of a seamless product launch, see Exhibit D at 36:17 (“[Y]ou

  only launch a product once”); and evidence of the inferior quality of Defendants’ product, which

  he expounded upon in his deposition. D.E. 114-09 at 146:21-147:13.

         Second, Dr. Gall describes the two principle ways market performance will be impacted:

         -       “It would take considerably longer for the Rad-Guard® shield to saturate the
                 market, since confusion in the marketplace over the origin, quality, and
                 performance of the product will cause customers to hesitate to commit to a
                 purchase. This can cause a delay of a full equipment replacement cycle, doubling
                 the time to market saturation.” Exhibit B at p. 26.

         -       “The percentage of the primary market that could be reached will be diminished,
                 since some customers will have decided not to consider a product [the infringing
                 IV Mounted Barrier] that has underperformed relative to their expectations or the
                 expectations of colleagues who have shared their experiences.” Id.

         Third, he presents a new market penetration scenario that reflects his judgment as to the

  most likely market performance of the Rad-Guard after Defendants’ actions; i.e., that the product




                                                   5
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 6 of 16 PageID# 5142




  should expect to penetrate no more than 70% of the primary market, and take a second 10-year

  hospital procurement cycle to achieve that result. Id.

         Fourth, he provides support for the reduction to 70% as neither the most optimistic scenario

  nor the least optimistic scenario: “The most optimistic scenario would include sales outside the

  United States as well as sales to interventional radiology suites providing the variety of procedures

  list above and could assume a faster recapture of market penetration as well as increase in market

  saturation percentage.” Id. Likewise, “the least optimistic scenario would be essentially flat with

  a low volume of stagnant sales resulting from loss of goodwill in the marketplace caused by the

  confusion and poor performance of the inferior competing products.” Id. He further confirms the

  appropriateness of the 70% figure in deposition testimony as based on the factors above and his

  considerable experience in the industry. See D.E. 114-09 at 139:23-141:14 and 142:24-144:12.

         Lastly, he provides support for the additional 10-year delay, as it corresponds exactly to

  the missed opportunity to achieve full penetration during a single hospital equipment procurement

  cycle. Exhibit B at p. 26.

              The Magistrate Judge’s order excluding Dr. Gall’s market share opinions

         The Magistrate Judge granted in part and denied in part Defendants’ motion to strike Dr.

  Gall’s testimony. D.E. 200.       The Magistrate Judge correctly declined to strike Dr. Gall’s

  infringement opinions, but incorrectly ruled that, “Dr. Gall may not offer his projections for Rad-

  Guard’s hypothetical market penetration and lost future sales because those projections are not

  based on any reliable data or method, and because he otherwise lacks the necessary qualifications,

  education, training, and experience to opine generally on lost future sales of the product.” Id. at

  p. 1. In support of this holding, the Magistrate Judge stated:




                                                   6
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 7 of 16 PageID# 5143




                  Dr. Gall’s personal involvement in the design and marketing of a complex
          radiation therapy system which sold for $28 million per unit provides no basis for
          his opinion for future sales of the Rad-Guard device which sold for less than
          $1,000.00. His anecdotal reference to two other products during his deposition did
          not appear to inform his disclosed expert opinion on future sales of the Rad-Guard
          as he was unable to offer any documentation or evidence related to either product
          or to any other similar product which might support his hypothetical projections.

  Id. at pp. 1-2.

                                            ARGUMENT

  I.      The Magistrate Judge’s order excluding Dr. Gall’s market opinions contradicts Rule
          702 and controlling case law.

          While district courts have “considerable leeway” in evaluating expert witnesses, Kumho

  Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999), neither of the Magistrate Judge’s conclusions

  regarding Dr. Gall’s market share opinions is consistent with controlling law.

                                                   1.

          There is no plausible way that Dr. Gall’s opinions should be excluded for lack of reliable

  data or methods. The Magistrate Judge’s opinion is silent on his reasoning for this point, except

  to say that Dr. Gall’s “anecdotal reference to two other products during his deposition did not

  appear to inform his disclosed expert opinion on future sales of the Rad-Guard as he was unable

  to offer any documentation or evidence related to either product or to any other similar product

  which might support his hypothetical projections.” D.E. 200 at pp. 1-2. The error in this statement

  is obvious: that is not the basis for Dr. Gall’s opinions. These are issues the Defendants raised in

  their attempt to attack the weight and credibility of Dr. Gall’s opinions.

          The Magistrate Judge’s analysis overlooks the actual bases for Dr. Gall’s opinions, which

  he reliably combined with his considerable experience to arrive at his projections. This is exactly

  what an expert witness is supposed to do. See Fed. R. Evid. 702; see also Kumho Tire, 526 U.S.

  at 156 (“[N]o one denies that an expert might draw a conclusion from a set of observations based


                                                   7
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 8 of 16 PageID# 5144




  on extensive and specialized experience.”). Under controlling law, “questions regarding the

  factual underpinnings of [an expert’s] opinion affect the weight and credibility of the witness’

  assessment, not its admissibility.” Bresler v. Wilmington Tr. Co., 855 F.3d 178, 195 (4th Cir.

  2017) (emphasis added).

         The Fourth Circuit addressed this very situation just three years ago in Bresler, where both

  the district court and the Court of Appeals rejected the same argument that the Magistrate Judge

  accepted here. In Bresler, a dispute over trust funds, the plaintiff identified an expert to testify to

  lost future income, specifically, “the present value of an investment mechanism,” including

  crediting rates, and the “current valuation of underfunding” certain insurance policies. Id. at 190.

  Just like here, the defendants challenged the expert on Daubert grounds, disputing his projections

  for future values that he then incorporated into his calculations.

         Both the district court and the Fourth Circuit rejected the Daubert challenge. As the Fourth

  Circuit held, “Wilmington’s Daubert challenge amounts to a disagreement with the values Pugh

  chose to assign to certain variables, including the cost of insurance and future interest rates.” Id.

  at 195. Those variables, of course, were the essence of his expert opinion. The Fourth Circuit

  continued: “While Wilmington may have preferred that Pugh use higher costs of insurance in his

  formula, along with other values more favorable to Wilmington, Pugh’s failure to do so did not

  require the district court to exclude Pugh’s opinion under Daubert.” Id. (distinguishing Tyger

  Constr. Co. v. Pensacola Constr. Co., 29 F.3d 137, 143 (4th Cir. 1994)).7 The Fourth Circuit




  7
          Tellingly, the Tyger Construction case that the Fourth Circuit distinguishes is the very case
  that Defendants rely on here. See D.E. 108 at p. 9; D.E. 129 at p. 7; Tyger Constr., 29 F.3d at 143
  (where expert witness said there was no available sand in a quarry, but there was undisputedly
  sand in the quarry, district court abused its discretion in admitting the expert’s opinion).
                                                    8
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 9 of 16 PageID# 5145




  concluded, “Rather, such challenges to the accuracy of Pugh’s calculations ‘affect the weight and

  credibility’ of Pugh’s assessment, not its admissibility.” Id. at 195-96 (emphasis added).

         In this case, better than in Bresler, multiple facts and data support Dr. Gall’s opinions as

  set forth in his reports. None of them was given any credence by the Magistrate Judge.

         As noted above, Dr. Gall’s first opinion is that the Rad-Guard would have penetrated near

  100% of the U.S. cath lab market over the course of 10 years “but for” Defendants’ actions. See

  Exhibit B at pp. 22-25. No part of this opinion depends on Dr. Gall’s “personal involvement in

  the design and marketing of a complex radiation therapy system which sold for $28 million per

  unit” or the “two other products” discussed in his deposition. Instead, numerous other factors go

  into this opinion, all of which are supported:

            First, he defines the specialized market that the Rad-Guard was designed to serve,
             including the primary cath lab market, the secondary market, and international sales.

            Second, he cites the unique nature of the Rad-Guard product itself. Id. at p. 22.

            Third, he identifies the patent protection of the product, “providing for little meaningful
             competition.” Id. at p. 25.

            Fourth, he identifies the need for the Rad-Guard product in the market, including
             increased concern over radiation exposure in recent years. Id. at pp. 12-15, 24-25.

            Fifth, he identifies the tendency in this specialized market to gravitate toward standards
             of practice, or to single products that help a hospital system adhere to the mandatory
             principles of ALARA radiation exposure. Id. at p. 24; see also 10 C.F.R. § 20.1003.

            Sixth, he identifies the time scale of market penetration, supported by his 30+ year
             personal experience in the very market that would purchase the Rad-Guard; i.e., a
             single 10-year hospital equipment procurement cycle. Id. at p. 22.

            Seventh, he identifies the primary market size; i.e., the approximately 2,000 U.S. cath
             lab suites, each with more than one procedure room on average. Id. at p. 22.

            Eighth, he identifies the number of Rad-Guards each cath lab likely would purchase
             during its 10-year equipment procurement cycle; i.e., 5 units on average over 10 years,
             which is supported by, among other things, the spreadsheet he attaches to his report
             showing Burlington itself sold 8 of its infringing product to a single hospital system in
             just 3 years (New Hanover Regional Medical Center). Id. at p. 22 and Ex. 5.

                                                   9
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 10 of 16 PageID# 5146




            Ninth, he identifies the specific hospital budgeting and purchasing practices that
             support his opinion. Id. at p. 24.

         All these facts underpin Dr. Gall’s conclusion that the Rad-Guard would have achieved

  near 100% market penetration over the course of a 10-year hospital procurement cycle, but for

  Defendants’ actions. The Magistrate Judge’s order is silent as to what part of this is unreliable.

         There is equal support for Dr. Gall’s second opinion that Defendants’ actions have

  decreased and delayed the maximum possible market penetration for the Rad-Guard, as shown

  from a complete reading of his report:

            First, he identifies the considerable problems that the Rad-Guard now faces as a result
             of the Defendants’ actions. Id. at p. 25.

            Second, he describes the two principle ways the market performance will be impacted:
             (1) “It would take considerably longer for the Rad-Guard® shield to saturate the
             market, since confusion in the marketplace over the origin, quality, and performance
             of the product will cause customers to hesitate to commit to a purchase. This can cause
             a delay of a full equipment replacement cycle, doubling the time to market saturation,”
             and (2) “The percentage of the primary market that could be reached will be
             diminished, since some customers will have decided not to consider a product [the
             infringing IV Mounted Barrier] that has underperformed relative to their expectations
             or the expectations of colleagues who have shared their experiences.” Id. at p. 26.

            Third, he presents a new market penetration scenario that reflects his judgment as to
             the most likely performance of the Rad-Guard after the Defendants’ actions – i.e., that
             the product should expect to penetrate no more than 70% of the same market, and take
             a second 10-year hospital procurement cycle to achieve that result. Id.

            Fourth, he provides support for the reduction to 70% as neither the most optimistic
             scenario nor the least optimistic scenario: “The most optimistic scenario would include
             sales outside the United States as well as sales to interventional radiology suites
             providing the variety of procedures list above and could assume a faster recapture of
             market penetration as well as increase in market saturation percentage.” Id. Likewise,
             “the least optimistic scenario would be essentially flat with a low volume of stagnant
             sales resulting from loss of goodwill in the marketplace caused by the confusion and
             poor performance of the inferior competing products.” Id.

            Fifth, he confirms the appropriateness of the 70% figure in deposition testimony as
             based on the factors above and his considerable experience in the industry. See D.E.
             114-09 at 139:23-141:14, 142:24-144:12.


                                                  10
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 11 of 16 PageID# 5147




            Sixth, he provides support for the additional 10-year delay, as it corresponds exactly to
             the missed opportunity to achieve complete market penetration during a single hospital
             equipment procurement cycle. Exhibit B at p. 26.

         This is far more support than that provided by the expert witness in Bresler, whose opinions

  the Fourth Circuit approved. Dr. Gall’s methodology of combining that factual support with his

  30+ years’ experience to reach his ultimate 100% and 70% market share opinions over 10- and 20-

  year timeframes is exactly what Rule 702 permits: the combination of experience with other

  knowledge, skill, training, and education to provide a reliable foundation for expert opinion. See

  Fed. R. Evi. 702; see also Kumho Tire, 526 U.S. at 156; Bresler, 855 F.3d at 195-96. That

  Defendants disagree with Dr. Gall is the reason for cross-examination at trial. Id.

         Because the Magistrate Judge’s order is clearly erroneous and contrary to law, TRS

  respectfully asks this Court to correct the error. Under the analysis applied just three years ago in

  Bresler, exclusion of Dr. Gall’s market opinions will likely lead only to a second trial.

                                                   2.

         The Magistrate Judge’s secondary reasoning is also clearly erroneous. It should be a rare

  event that an expert with 30+ years’ experience in exactly the field at issue is excluded for lack of

  qualification. “Generally, the test for exclusion is a strict one, and the purported expert must have

  neither satisfactory knowledge, skill, experience, training nor education on the issue for which the

  opinion is offered.” RG Steel Sparrows Point, LLC v. Kinder Morgan Bulk Terminals, Inc., 609

  F. App’x 731, 738-39 (4th Cir. 2015) (emphasis added) (quoting Thomas J. Kline, Inc. v. Lorillard,

  Inc., 878 F.2d 791, 799 (4th Cir. 1989)).

         “Rule 702 was intended to liberalize the introduction of relevant expert evidence.” Id.

  (quoting Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th Cir. 1999)). The only basis

  offered by the Magistrate Judge for his conclusion that Dr. Gall is not qualified to opine on lost



                                                   11
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 12 of 16 PageID# 5148




  market share is that, “Dr. Gall’s personal involvement in the design and marketing of a complex

  radiation therapy system which sold for $28 million per unit provides no basis for his opinion for

  future sales of the Rad-Guard device which sold for less than $1,000.00.” D.E. 200 at p. 1.

         Yet Dr. Gall is not offered as an expert because he successfully launched a $28 million

  product. That information was supplied by Defendants. Dr. Gall is offered as an expert because

  he has spent more than three decades in the very system in which the Rad-Guard would be sold,

  on all sides of the product market. See Exhibit A. As indicated in his curriculum vitae and reports,

  Dr. Gall’s unique expertise in this market derives from, among other things, his role as Chief of

  Physics and director of radiological medicine involved in procurement of radiation protection

  products at multiple hospitals, his personal experience working in interventional radiology suites

  with radiation protection devices, his personal experience marketing radiation therapy treatment

  systems, his personal development of marketing plans for new radiological products, his personal

  experience with the sale of patented products (he holds 14 patents in this field), and his consulting

  work for startup medical device manufacturers seeking access to national hospital markets.

         The Magistrate Judge’s isolated focus on Dr. Gall’s experience with multi-million-dollar

  products ignores all this other experience, particularly Dr. Gall’s role in hospital procurement. It

  also ignores all of Dr. Gall’s consulting work assessing market conditions for radiological product

  lines, including devices that sell for thousands of dollars, not tens of millions. See, e.g., D.E. 108-

  5 at pp. 18-19 (example of complete business startup proposal for Chinese company evaluating

  U.S. markets). Dr. Gall’s expertise in this market thus derives not only from his background as

  the founder and CEO of a medical equipment company, to which the Magistrate Judge’s order

  refers, but also his substantial experience in projecting sales and participating in purchasing

  radiation protection equipment for hospitals, all of which is relevant to his market share analysis.



                                                    12
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 13 of 16 PageID# 5149




         Under Rule 702 and controlling Fourth Circuit law, Dr. Gall is highly qualified to opine on

  likely market penetration for the Rad-Guard product here. See Fed. R. Evi. 702; see also RG Steel,

  609 F. App’x at 738-39. Excluding his market opinions on either basis offered by the Magistrate

  Judge will be clear error.

  II.    The Magistrate Judge incorrectly excluded Dr. Vanderhart’s lost sales and lost
         investment value opinions based on his incorrect exclusion of Dr. Gall’s opinions.

         The Magistrate Judge also erred in excluding portions of Dr. Vanderhart’s Rad-Guard

  calculations that rely on Dr. Gall’s market opinions. Dr. Vanderhart calculated two key aspects of

  Rad-Guard damages based on evidence of per-unit profit and Dr. Gall’s market share analysis: (i)

  present value of lost sales (that is, the 30% of sales that will never occur now), or $910,810, and

  (ii) lost investment value (pre-judgment interest) associated with the 10-year procurement cycle

  delay in market penetration, or $914,829. She also calculated other direct losses, such as lost

  profits due to Defendants’ infringing sales.

         The Magistrate Judge held that Dr. Vanderhart can testify to all the direct losses, but

  excluded her opinions “on lost Rad-Guard profits derived from future sales” because they “derive[]

  exclusively from Dr. Gall’s Rad-Guard market projections which are unreliable.” Id. at p. 2.

         Because the Magistrate Judge’s ruling with respect to Dr. Gall’s market opinions is clearly

  erroneous and contrary to law, the Magistrate Judge’s ruling with respect to Dr. Vanderhart’s

  opinions is likewise clearly erroneous and contrary to law.

  III.   The Magistrate Judge incorrectly held that TRS must present additional evidence to
         support Dr. Vanderhart’s calculations of Cardio-Trap damages.

         The Magistrate Judge’s holding with respect to Cardio-Trap damages is also contrary to

  law in one narrow sense. With respect to the Cardio-Trap, Dr. Vanderhart calculated $344,603 in

  damages due to Defendants’ suppressed sales for a single year. She based this on evidence of per-

  unit profit and Burlington’s own statements as to projected sales. See Exhibit F at pp. 18-27.

                                                  13
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 14 of 16 PageID# 5150




          The Magistrate Judge held that, “if the trial court finds based on other testimony and

  evidence that Burlington had some ongoing duty to actively market and sell the Cardio-Trap (a

  contested point) and other evidence supports a quantity of lost future sales, Dr. Vanderhart’s

  credentials and research support her precise calculations of per unit revenue and profit figures

  attributable to that loss.” D.E. 200 at p. 3. “However, her selective citation to opinions of sales

  representatives is insufficient – standing alone – to support any continuing obligation by

  Burlington to market the product, or the precise number of units she claims could have been sold.”

  Id. at p. 3-4.

          TRS does not contest that it must show Burlington’s obligation to market the Cardio-Trap,

  which it will do at trial. Nonetheless, the District Court should clarify or overrule this part of the

  Magistrate Judge’s order, because a plaintiff does not have to (1) produce evidence beyond a

  defendants’ own projections of future sales or (2) prove future damages with precision.

          Neither Defendants nor the Magistrate Judge cite any legal authority to support this

  holding. Characterization of the sales team’s projections as “selective citation” is contrary to the

  facts. The sales team’s projections are proper evidence of likely future performance. In fact,

  Burlington’s CEO confirmed in deposition that the company did not have formal sales forecasts

  or financial projections for the Cardio-Trap to establish otherwise. See Exhibit D at 52:5-10 (“Q.

  Did Burlington have any sales forecasts for either product? A. I’m not aware of any sales forecasts.

  Q. Were there any financial projections at all for these products? A. I have not seen any.”).

  Moreover, a plaintiff need not prove damages with precision, but only with “reasonable certainty.”

  See Preferred Sys. Solutions, Inc. v. GP Consulting, LLC, 284 Va. 382, 399-400 (2012) (“Claims

  for compensatory damages – in this case, lost profits – must be proved with reasonable certainty.

  The standard of review for a damages calculation has been framed as whether there were ‘sufficient



                                                   14
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 15 of 16 PageID# 5151




  facts’ to support the award…. Damages are not rendered uncertain because they cannot be

  calculated with absolute exactness. It is sufficient if a reasonable basis of computation is

  afforded.”) (international citations and quotation marks omitted). To hold TRS to a higher

  standard at trial – whether from an evidentiary standpoint or damages standpoint – will introduce

  unnecessary error, a result that the Magistrate Judge does not appear to have intended.

                                             CONCLUSION

          WHEREFORE, because there is no basis to strike any part of Dr. Gall’s or Dr. Vanderhart’s

  report or testimony, TRS respectfully requests that the Court correct the Magistrate Judge’s ruling

  under Fed. R. Civ. P. 72, deny Defendants’ motions entirely, and allow Dr. Gall and Dr. Vanderhart

  to testify at trial in accordance with their reports.

          Dated: June 3, 2020                     TRANS-RADIAL SOLUTIONS, LLC



                                                  By:           /s/ W. Ryan Snow

                                                  W. Ryan Snow, VSB No. 47423
                                                  David C. Hartnett, VSB No. 80452
                                                  Alexander R. McDaniel, VSB No. 92398
                                                  CRENSHAW, WARE & MARTIN, P.L.C.
                                                  150 W. Main Street, Suite 1500
                                                  Norfolk, Virginia 23510
                                                  Telephone: (757) 623-3000
                                                  Facsimile: (757) 623-5735
                                                  wrsnow@cwm-law.com
                                                  dhartnett@cwm-law.com
                                                  amcdaniel@cwm-law.com

                                                  Bernard S. Klosowski, Jr. (admitted pro hac vice)
                                                  THRIVE IP® INTELLECTUAL PROPERTY LAW
                                                  200 N. Main Street, Suite 500
                                                  Greenville, SC 29601
                                                  Telephone 864.351.2468
                                                  Facsimile: 866.747.2595
                                                  Ben.Klosowski@Thrive-IP.com
                                                  Counsel for Plaintiff

                                                     15
Case 2:18-cv-00656-RAJ-DEM Document 208 Filed 06/03/20 Page 16 of 16 PageID# 5152




                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 3rd day of June 2020, I electronically filed the foregoing
  document with the Clerk of the Court, using the ECF system of the court. The ECF system will send
  a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to accept
  this Notice as service of this document by electronic means.


                                                             /s/ W. Ryan Snow
                                                      W. Ryan Snow, VSB No. 47423
                                                      David C. Hartnett, VSB No. 80452
                                                      Alexander R. McDaniel, VSB No. 92398
                                                      CRENSHAW, WARE & MARTIN, P.L.C.
                                                      150 W. Main Street, Suite 1500
                                                      Norfolk, Virginia 23510
                                                      Telephone: (757) 623-3000
                                                      Facsimile: (757) 623-5735
                                                      wrsnow@cwm-law.com
                                                      dhartnett@cwm-law.com
                                                      amcdaniel@cwm-law.com
                                                      Counsel for Plaintiff




                                                 16
